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                               10                       UNITED STATES DISTRICT COURT
                               11
                                                       CENTRAL DISTRICT OF CALIFORNIA
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                               12     ANGELA GERMANY,                      Case No.:
 245 FISCHER AVENUE, UNIT D1
    COSTA MESA, CA 92626




                               13                  Plaintiff,              COMPLAINT FOR DAMAGES
                                                                           AND INJUNCTIVE RELIEF FOR
                               14                          v.              VIOLATIONS OF:
                               15     CASH CENTRAL OF                         I.     THE FAIR DEBT
                                                                                     COLLECTION
                               16
                                      CALIFORNIA, LLC; DOES 1-                       PRACTICES ACT, 15
                                      100, AND EACH OF THEM                          U.S.C. § 1692, ET SEQ.;
                               17
                                                    Defendants.               II.    THE ROSENTHAL FAIR
                               18                                                    DEBT COLLECTION
                                                                                     PRACTICES ACT, CAL.
                               19                                                    CIV. CODE § 1788, ET
                                                                                     SEQ.; AND,
                               20
                                                                              III.   CALIFORNIA CIVIL
                               21                                                    CODE § 1798.92, ET SEQ.
                               22                                             IV.    FAIR CREDIT
                                                                                     REPORTING ACT
                               23
                                                                              V.     CONSUMER CREDIT
                               24                                                    REPORTING AGENCIES
                                                                                     ACT
                               25
                                                                           JURY TRIAL DEMANDED
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                                      COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF                  PAGE 1 OF 19
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                                1                                            INTRODUCTION
                                2     1.      The United States Congress has found abundant evidence of the use of abusive,
                                3             deceptive, and unfair debt collection practices by many debt collectors, and has
                                4             determined that abusive debt collection practices contribute to the number of
                                5             personal bankruptcies, to marital instability, to the loss of jobs, and to invasions
                                6             of individual privacy. Congress wrote the Fair Debt Collection Practices Act,
                                7             15 U.S.C. § 1692 et seq, to eliminate abusive debt collection practices by debt
                                8             collectors, to insure that those debt collectors who refrain from using abusive
                                9             debt collection practices are not competitively disadvantaged, and to promote
                               10             consistent State action to protect consumers against debt collection abuses.
                               11     2.      The California legislature has determined that the banking and credit system
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                               12             and grantors of credit to consumers are dependent upon the collection of just
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                               13             and owing debts and that unfair or deceptive collection practices undermine the
                               14             public confidence that is essential to the continued functioning of the banking
                               15             and credit system and sound extensions of credit to consumers. The Legislature
                               16             has further determined that there is a need to ensure that debt collectors exercise
                               17             this responsibility with fairness, honesty, and due regard for the debtor’s rights
                               18             and that debt collectors must be prohibited from engaging in unfair or deceptive
                               19             acts or practices. 1
                               20     3.      ANGELA GERMANY (“Plaintiff”), by Plaintiff’s attorneys, brings this action
                               21             to challenge the actions of CASH CENTRAL OF CALIFORNIA, LLC
                               22             (“CASH CENTRAL” or “Defendants”) with regard to attempts by Defendants,
                               23             debt collectors, to unlawfully and abusively collect a debt allegedly owed by
                               24             Plaintiff, and this conduct caused Plaintiff damages.
                               25     4.      Plaintiff makes these allegations on information and belief, with the exception
                               26             of those allegations that pertain to a plaintiff, or to a plaintiff’s counsel, which
                               27
                                      1
                               28         Cal. Civ. Code §§ 1788.1 (a)-(b)


                                      COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF                               PAGE 2 OF 19
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                                1           Plaintiff alleges on personal knowledge.
                                2     5.    While many violations are described below with specificity, this Complaint
                                3           alleges violations of the statute cited in its entirety.
                                4     6.    Unless otherwise stated, all the conduct engaged in by Defendant took place in
                                5           California.
                                6     7.    Any violations by Defendants were knowing, willful, and intentional, and
                                7           Defendant did not maintain procedures reasonably adapted to avoid any such
                                8           violation.
                                9     8.    Unless otherwise indicated, the use of Defendant’s name in this Complaint
                               10           includes all agents, employees, officers, members, directors, heirs, successors,
                               11           assigns, principals, trustees, sureties, subrogees, representatives, and insurers of
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                               12           Defendant’s named.
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                               13                                          JURISDICTION AND VENUE
                               14     9.    Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1331, 15 U.S.C. § 1682k
                               15           and 28 U.S.C. § 1367 for supplemental state claims.
                               16     10. This action arises out of Defendants’ violations of (i) the Fair Debt Collection
                               17           Practices Act, 15 U.S.C. §§ 1692-1692(p) (“FDCPA”); (ii) the Rosenthal Fair
                               18           Debt Collection Practices Act, Cal. Civ. Code § 1788.17 (“RFDCPA”); and,
                               19           (iii) California Civil Code §§ 1798-92, et seq.
                               20     11. Because Defendant conducts business within the State of California, personal
                               21           jurisdiction is established.
                               22     12. Venue is proper pursuant to 28 U.S.C. § 1391 for the following reasons: (i)
                               23           Plaintiff resides in the City of Palm Desert, County of Riverside, State of
                               24           California which is within this judicial district; (ii) the conduct complained of
                               25           herein occurred within this judicial district; and, (iii) Defendants conducted
                               26           business within this judicial district at all times relevant.
                               27     ///
                               28     ///


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                                1                                          PARTIES
                                2     13. Plaintiff is a natural person who resides in the State of California, from whom
                                3         a debt collector sought to collect a consumer debt which was due and owing or
                                4         alleged to be due and owing from Plaintiff.         In addition, Plaintiff is a
                                5         “consumer” as that term is defined by 15 U.S.C. § 1692a(3).
                                6     14. Ms. Germany is a “Victim of Identity Theft” as that term is defined by Cal. Civ.
                                7         Code § 1798.82(d).
                                8     15. Defendant CASH CENTRAL is a company located in Utah, who conducts
                                9         business in California.
                               10     16. Plaintiff is informed and believes, and thereon alleges, that Defendants, in the
                               11         ordinary course of business, regularly, on behalf of themselves or others,
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                               12         engage in “debt collection” and are therefore “debt collectors” as the terms are
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                               13         defined by 15 U.S.C. § 1692a(6).
                               14     17. This case involves money, property or their equivalent, due or owing or alleged
                               15         to be due or owing from a natural person by reason of a consumer credit
                               16         transaction. As such, this action arises out of a “debt” as that term is defined
                               17         by 15 U.S.C. 1692a(5).
                               18     18. Defendants are each a “claimant” as that term is defined by California Civil
                               19         Code § 1798.92(a).
                               20                                   FACTUAL ALLEGATIONS
                               21     19. At all times relevant, Plaintiff is an individual residing within the State of
                               22         California.
                               23     20. Plaintiff became aware that she was a victim of identity theft when receiving a
                               24         notification from her monthly credit monitoring service, notifying her that there
                               25         was an inquiry on her credit from Defendant CASH CENTRAL. Plaintiff
                               26         subsequently received a notice from Defendant CASH CENTRAL that her
                               27         application for a loan had been denied. Plaintiff has never applied for a loan
                               28         with CASH CENTRAL to date.


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                                1     21. Plaintiff immediately notified CASH CENTRAL that the application had been
                                2          fraudulently submitted in her name.
                                3     22. Both CASH CENTRAL and Plaintiff’s credit reporting agency confirmed that
                                4          it was, indeed, identity theft and stated to Plaintiff that she would have the credit
                                5          inquiries deleted from Plaintiff’s credit report.
                                6     23. Six months later, Plaintiff was again notified that CASH CENTRAL had done
                                7          an unauthorized inquiry on her account. Plaintiff again notified CASH
                                8          CENTRAL that she had never applied for a loan with them.
                                9     24. Plaintiff filed a police report concerning this identify theft.
                               10     25. Despite CASH CENTRAL’s confirmation that this was indeed identify theft,
                               11          Defendant has repeatedly places calls to Plaintiff’s home, and work phone
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                               12          numbers in an attempt to collect on the fraudulently obtained loans.
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                               13     26. Further, despite Plaintiff’s repeatedly notifying Defendant that she has never
                               14          taken a loan with them, Defendant continues to harass Plaintiff with calls to her
                               15          home and work telephone numbers.
                               16     27. CASH CENTRAL’s continued attempts to knowingly collect an invalid debt
                               17          from Ms. Germany via telephonic communications constitutes a violation of 15
                               18          U.S.C. § 1692e since CASH CENTRAL used false, deceptive and misleading
                               19          representations in connection with the collection of Ms. Germany’s alleged
                               20          debt. This section is incorporated into the RFDCPA through Cal. Civ. Code §
                               21          1788.17. Thus, CASH CENTRAL also has violated Cal. Civ. Code § 1788.17.
                               22     28. Through this conduct, CASH CENTRAL violated 15 U.S.C. § 1692e(2)(A) by
                               23          falsely representing the character, amount and legal status of Ms. Germany’s
                               24          alleged debt as one that is owed by Ms. Germany. This section is incorporated
                               25          into the RFDCPA through Cal. Civ. Code § 1788.17. Thus, CASH CENTRAL
                               26          also has violated Cal. Civ. Code § 1788.17.
                               27     29. Through this conduct, CASH CENTRAL violated 15 U.S.C. § 1692e(10) by
                               28          using false representations and deceptive means in order to collect Ms.


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                                1         Germany’s alleged debt. This section is incorporated into the RFDCPA through
                                2         Cal. Civ. Code § 1788.17. Thus, CASH CENTRAL also has violated Cal. Civ.
                                3         Code § 1788.17.
                                4     30. Through this conduct, CASH CENTRAL violated 15 U.S.C. § 1692f by using
                                5         unfair and unconscionable means to collect Ms. Germany’s alleged debt. This
                                6         section is incorporated into the RFDCPA through Cal. Civ. Code § 1788.17.
                                7         Thus, CASH CENTRAL also has violated Cal. Civ. Code § 1788.17.
                                8     31. Through this conduct, CASH CENTRAL violated 15 U.S.C. § 1692f(1) by
                                9         attempting to collect an amount not permitted by law from Plaintiff. This
                               10         section is incorporated into the RFDCPA through Cal. Civ. Code § 1788.17.
                               11         Thus, CASH CENTRAL also has violated Cal. Civ. Code § 1788.17.
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                               12     32. To date, CASH CENTRAL continues CASH CENTRAL’s unfair debt
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                               13         collection practices by communications personal credit information to Ms.
                               14         Germany’s credit report that is known or should be known to be false. Such
                               15         conduct constitutes a violation of 15 U.S.C. § 1692e(8).
                               16     33. Through this conduct, CASH CENTRAL violated 15 U.S.C. § 1692e(2)(A) by
                               17         falsely representing the character, amount and legal status of Ms. Germany’s
                               18         alleged debt as one that is owed by Ms. Germany. This section is incorporated
                               19         into the RFDCPA through Cal. Civ. Code § 1788.17. Thus, CASH CENTRAL
                               20         also has violated Cal. Civ. Code § 1788.17.
                               21     34. Through this conduct, CASH CENTRAL violated 15 U.S.C. § 1692f(1) by
                               22         attempting to collect an amount not permitted by law from Plaintiff. This
                               23         section is incorporated into the RFDCPA through Cal. Civ. Code § 1788.17.
                               24         Thus, CASH CENTRAL also has violated Cal. Civ. Code § 1788.17.
                               25     35. By ignoring the information provided by Plaintiff, CASH CENTRAL engaged
                               26         in conduct the natural consequence of which was to harass, oppress and abuse
                               27         Plaintiff. Through this conduct, CASH CENTRAL violated 15 U.S.C. § 1692d.
                               28         This section is incorporated into the RFDCPA through Cal. Civ. Code §


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                                1           1788.17. Thus, CASH CENTRAL also has violated Cal. Civ. Code § 1788.17.
                                2     36. CASH CENTRAL’s continued attempts to knowingly collect an invalid debt
                                3           from Plaintiff via telephonic communications constitutes a violation of 15
                                4           U.S.C. § 1692e since CASH CENTRAL used false, deceptive and misleading
                                5           representations in connection with the collection of Ms. Germany’s alleged
                                6           debt. This section is incorporated into the RFDCPA through Cal. Civ. Code §
                                7           1788.17. Thus, CASH CENTRAL also has violated Cal. Civ. Code § 1788.17.
                                8     37. These repeated and continuous violations have caused Plaintiff unnecessary
                                9           stress and anxiety.
                               10     38. In addition, Defendants’ continued illegal collection actions and continued
                               11           reporting on Plaintiff’s credit reports after failing to conduct a reasonable
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                               12           investigation into Plaintiff’s identity theft claims violate Cal. Civ. Code §
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                               13           1798.92 et seq.
                               14                         CAUSES OF ACTION CLAIMED BY PLAINTIFF
                               15                                            COUNT I
                               16               VIOLATION OF THE FAIR DEBT COLLECTION PRACTICES ACT
                               17                             15 U.S.C. §§ 1692-1692(p) (FDCPA)
                               18                  [AGAINST ALL DEFENDANTS EXCEPT CASH CENTRAL]
                               19     39. Plaintiff incorporates by reference all of the above paragraphs of this Complaint
                               20           as though fully stated herein.
                               21     40. The foregoing acts and omissions constitute numerous and multiple violations
                               22           of the FDCPA.
                               23     41. As a result of each and every violation of the FDCPA, Plaintiff is entitled to
                               24           any actual damages pursuant to 15 U.S.C. § 1692k(a)(1); statutory damages for
                               25           a knowing or willful violation in the amount up to $1,000.00 pursuant to 15
                               26           U.S.C. § 1692k(a)(2)(A); and reasonable attorney’s fees and costs pursuant to
                               27           15 U.S.C. § 1692k(a)(3) from each Defendant individually.
                               28     ///


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                                1                                          COUNT II
                                2       VIOLATION OF THE ROSENTHAL FAIR DEBT COLLECTION PRACTICES ACT
                                3                       Cal. Civ. Code §§ 1788-1788.32 (RFDCPA)
                                4                               [AGAINST ALL DEFENDANTS]
                                5     42. Plaintiff incorporates by reference all of the above paragraphs of this Complaint
                                6         as though fully stated herein.
                                7     43. The foregoing acts and omissions constitute numerous and multiple violations
                                8         of the RFDCPA.
                                9     44. As a result of each and every violation of the RFDCPA, Plaintiff is entitled to
                               10         any actual damages pursuant to Cal. Civ. Code § 1788.30(a); statutory damages
                               11         for a knowing or willful violation in the amount up to $1,000.00 pursuant to
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                               12         Cal. Civ. Code § 1788.30(b); and reasonable attorney’s fees and costs pursuant
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                               13         to Cal. Civ. Code § 1788.30(c) from each Defendant individually.
                               14                                          COUNT III
                               15                    VIOLATIONS OF CAL. CIV. CODE § 1798.92-1798.97
                               16                                [AGAINST ALL DEFENDANTS]
                               17     45. Plaintiff incorporates by reference all of the above paragraphs of this Complaint
                               18         as though fully stated herein.
                               19     46. The foregoing acts and omissions constitute numerous and multiple violations
                               20         of the Cal. Civ. Code § 1798.92, including but not limited to each and every
                               21         one of the above-cited provisions of Cal. Civ. Code § 1798.92.
                               22     47. As a result of each and every violation of Cal. Civ. Code § 1798.92, Plaintiff is
                               23         entitled to any actual damages pursuant to Cal. Civ. Code § 1798.93(c)(5);
                               24         statutory damages in an amount up to $30,000.00 pursuant to Cal. Civ. Code §
                               25         1798.93(c)(6); costs pursuant to Cal. Civ. Code § 1798.93(c)(5), attorney’s fees
                               26         and costs pursuant to Cal. Civ. Code § 1798.93(c)(5) and any equitable relief
                               27         the Court deems appropriate pursuant to Cal. Civ. Code § 1798.93(c)(5).
                               28


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                                1                                             COUNT IV.
                                2                              VIOLATIONS OF 15 U.S.C. §1681 ET SEQ
                                3                                  (FAIR CREDIT REPORTING ACT)
                                4                                   [AGAINST ALL DEFENDANTS]
                                5     48. Plaintiffs reincorporate by reference all of the preceding paragraphs.
                                6     49. Defendant’s false and inaccurate reporting of information to consumer credit
                                7           reporting agencies constitutes one or more violations of 15 U.S.C. §1681, et
                                8           seq.
                                9     50. Despite Plaintiffs’ efforts to date, Defendant nonetheless deliberately,
                               10           willfully, intentionally, recklessly and negligently repeatedly failed to
                               11           perform reasonable reinvestigations of the above disputes as required by the
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                               12           FCRA, failed to remove the inaccurate information in a timely fashion,
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                               13           failed to note the disputed status of the inaccurate information and continued
                               14           to report the derogatory inaccurate information about Plaintiffs.
                               15     51. Plaintiffs have been damaged, and continue to be damaged, in the following
                               16           ways:
                               17           a.      Out of pocket expenses associated with disputing the information only
                               18           to find the information to remain on the credit report;
                               19           b.      Emotional distress and mental anguish associated with having incorrect
                               20           derogatory personal information transmitted about Plaintiff to other people
                               21           both known and unknown; and
                               22           c.      Decreased credit score which may result in inability to obtain credit on
                               23           future attempts.
                               24     52.   At all times pertinent hereto, Defendant was acting by and through its agents,
                               25           servants and/or employees who were acting within the course and scope of
                               26           their agency or employment, and under the direct supervision and control of
                               27           Defendant herein.
                               28     53.   At all times pertinent hereto, the conduct of Defendant, as well as that of its


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                                1          agents, servants and/or employees, was malicious, intentional, willful,
                                2          reckless, and in grossly negligent disregard for federal and state laws and the
                                3          rights of Plaintiffs herein.
                                4   54.    Defendant violated sections 1681n and 1681o of the FCRA by engaging in
                                5          the following conduct that violates 15 U.S.C. §1681s-2(b):
                                6          a.     Willfully and negligently failing to conduct an investigation of the
                                7         inaccurate information that Plaintiffs disputed;
                                8          b.     Willfully and negligently failing to review all relevant information
                                9         concerning Plaintiffs’ account provided to this Defendant;
                               10          c.     Willfully and negligently failing to report the inaccurate status of the
                               11         inaccurate information to all credit reporting agencies;
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                               12          d.     Willfully and negligently failing to properly participate, investigate and
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                               13         comply with the reinvestigations that were conducted by any and all credit
                               14         reporting agencies concerning the inaccurate information disputed by Plaintiffs;
                               15          e.     Willfully and negligently continuing to furnish and disseminate
                               16         inaccurate and derogatory credit, account and other information concerning the
                               17         Plaintiff to credit reporting agencies and other entities despite knowing that said
                               18         information was inaccurate; and,
                               19          f.     Willfully and negligently failing to comply with the requirements
                               20         imposed on furnishers of information pursuant to 15 U.S.C. §1681s-2.
                               21   55.    Defendant’s conduct was a direct and proximate cause, as well as a substantial
                               22          factor, in causing the injuries, damages and harm to Plaintiffs that are outlined
                               23          more fully above, and as a result, Defendant is liable to compensate Plaintiffs
                               24          for the full amount of statutory, actual and punitive damages, along with
                               25          attorneys’ fees and costs, as well as such other relief permitted by law.
                               26   56.    Further, Defendant failed to notify Plaintiffs of their intention to report
                               27          negative information on their credit reports. Defendant then failed to correct
                               28          the disputed information within thirty days of Plaintiffs’ dispute of that


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                                1         information.
                                2   57.   As a result of the above violations of the FCRA, Plaintiffs suffered and
                                3         continue to suffer injury to Plaintiffs’ feelings, personal humiliation,
                                4         embarrassment, mental anguish and emotional distress, and Defendant is
                                5         liable to Plaintiffs for Plaintiffs’ actual damages, statutory damages, and costs
                                6         and attorney’s fees.
                                7                                           COUNT V.
                                8                         VIOLATIONS OF CIVIL CODE §1785 ET SEQ
                                9                     (CONSUMER CREDIT REPORTING AGENCIES ACT)
                               10                                [AGAINST ALL DEFENDANTS]
                               11   58.   Plaintiffs reincorporate by reference all of the preceding paragraphs.
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                               12   59.   Defendant’s false and inaccurate reporting of information to consumer credit
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                               13         reporting agencies constitutes one or more violations of Civil Code §1785, et
                               14         seq.
                               15   60.   Specifically, Defendant violated Civil Code §1785.25(a) by knowingly and
                               16         intentionally continued to report the alleged debt on Plaintiffs’ credit reports
                               17         despite having been informed on numerous occasions by Plaintiffs that the
                               18         account at issue was fraudulently obtained under Plaintiff’s name and that
                               19         Plaintiffs disputed the alleged debt owed.
                               20   61.   Further, Defendant violated Civil Code §1725(c) by knowingly and
                               21         intentionally continued to report the alleged debt on Plaintiffs’ credit reports
                               22         without notating that Plaintiffs disputed the debt despite having been informed
                               23         on numerous occasions by Plaintiffs that the account at issue was fraudulently
                               24         obtained under Plaintiff’s name and that Plaintiffs disputed the alleged debt
                               25         owed.
                               26                                  PRAYER FOR RELIEF
                               27   WHEREFORE, Plaintiff prays that judgment be entered against Defendant for:
                               28         • an award of actual damages, in an amount to be determined at trial,


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                                1             pursuant to Cal. Civ. Code § 1788.30(a), against each named Defendant
                                2             individually;
                                3         • an award of actual damages, in an amount to be determined at trial,
                                4             pursuant to 15 U.S.C. § 1692k(a)(1), against each named Defendant
                                5             individually;
                                6         • an award of statutory damages of $1,000.00, pursuant to Cal. Civ. Code §
                                7             1788.30(b), against each named Defendant individually;
                                8         • an award of statutory damages of $1,000.00, pursuant to 15 U.S.C. §
                                9             1692k(a)(2)(A), against each named Defendant individually;
                               10         • an award of costs of litigation and reasonable attorney’s fees, pursuant to
                               11             Cal. Civ. Code § 1788.30(c), against each named Defendant individually.
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                               12         • an award of costs of litigation and reasonable attorney’s fees, pursuant to
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                               13             15 U.S.C. § 1692k(a)(3), against each named Defendant individually;
                               14         • special, general, compensatory and punitive damages;
                               15         • treble damages pursuant to Cal. Civ. Code § 3345; and,
                               16         • any and all other relief that this Court deems just and proper.
                               17                                      TRIAL BY JURY
                               18        Pursuant to the seventh amendment to the Constitution of the United States of
                               19   America, Plaintiff is entitled to, and demands, a trial by jury.
                               20

                               21   Dated: January 25, 2016            LAW OFFICES OF TODD M. FRIEDMAN, P.C.
                               22
                                                                       By: ____/s Todd M. Friedman_________
                               23                                        TODD M. FRIEDMAN, ESQ.
                                                                         ATTORNEY FOR PLAINTIFF
                               24

                               25

                               26

                               27

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                                    COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF                        PAGE 12 OF 19
